              Case 2:23-cv-01963-BJR Document 1-1 Filed 12/20/23 Page 1 of 2




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10                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
11                                      AT SEATTLE

12   LIZABETH GLASS AND BRIAN                        Case No.:
     REBESCHINI,
13                                                   CONSENT TO REMOVAL
                                  Plaintiff,
14
            vs.
15
     CARROLL’S CREEK APARTMENTS
16   PROPERTY OWNER, LLC, JRK
     RESIDENTIAL GROUP, INC. dba TWO
17   COAST LIVING and I.Q. DATA
     INTERNATIONAL, INC.,
18
                                  Defendants.
19
            Carroll’s Creek Apartments Property Owner, LLC (“Carroll’s Creek”), by and through
20
     counsel, hereby consents to the removal of the above-captioned matter from State of Washington
21
     King County Superior Court to the United States District Court for the Western District of
22
     Washington at Seattle.
23
            ///
24

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      CONSENT TO REMOVAL -- 1
      Case No.
          Case 2:23-cv-01963-BJR Document 1-1 Filed 12/20/23 Page 2 of 2




 1       Dated: December 20, 2023

 2                                         /s/ Jessica Rae Kamish
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     CONSENT TO REMOVAL -- 2
     Case No.
